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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
Turtle Island Foods, SPC, doing business as
The Tofurky Company
Plaintiff,
Me Case No. 4:19-cv-514-KGB

Nikhil Soman, in his official capacity as Director
of the Arkansas Bureau of Standards

Defendant.

DECLARATION OF MARCUS ONLEY

I, Marcus Onley, declare as follows:

1.

I am over the age of 18 and could and would competently testify to the following if called
to do so. I offer this declaration in support of Plaintiff's motion for preliminary
injunction.

Recordings of the Arkansas House of Representatives’ committee hearings and floor
sessions can be accessed through its website, https://www.arkansashouse.org/.

On July 16, 2019, I visited

https://sg001-harmony.slig.n 2 rmon rBrowser, r rV2/2016
0329/-1/16895#info_, where I viewed a recording of the February 27, 2019 House
Agriculture, Forestry & Economic Development Committee hearing, during which the
committee discussed House Bill 1407.

On July 16, 2019, I recorded the portion of that video in which the committee discussed

House Bill 1407 and saved the recording to my laptop computer.
 

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. On August 12, 2019, I uploaded the recording to the Good Food Institute’s Google Di tv

cloud storage.

I made no alterations to the portion of the video recording discussing House Bill 1407.
At or around 0:48 of my recording, Representative David Hillman is depicted on that
video and states, among other things, “The reason that this bill is before you today. ..[is]
to protect the agriculture producers of our state.”

At or around 6:35 of my recording, Representative David Hillman is depicted on that
video and states, among other things, “I would hope that if they see that this is an issue,
not just in these twenty-three states that are considering legislation like this but
nationwide, that they would address this. And this is the really [sic] this is the intent of
this bill is to call attention to a problem that we have not only in Arkansas but in the
whole United States.”

At or around 11:47 of my recording, an individual identified as a representative from the
Arkansas Cattlemen’s Association is depicted on that video and states, among other
things, “It only seems fair that if farmers and ranchers are held to a certain labeling
standard for our product, those counterfeit products that would try to benefit from our
good reputation and brand I.D., should be held to the same honest and accuracy [sic]

standards.”

10. At or around 27:56 of my recording, an individual identified as a representative from the

Agricultural Council is depicted on that video and states, among other things, “We are

trying to send a message to the manufacturers that we do not want to see lies or

 
 

11.

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misleading statements in their products for the sake of the consumer and for the sake of
our industry and that’s our message.”

On July 16, 2019, I visited https://www.arkansashouse.org/watch-live, where I viewed a
recording of the March 4, 2019 floor session of the House of Representatives, during

which Arkansas state representatives discussed and voted on House Bill 1407.

12. On July 16, 2019, I recorded the portion of that video in which House Bill 1407 was

discussed and saved the recording to my laptop computer.

13. On August 12, 2019, I uploaded the recording to the Good Food Institute’s Google Drive

cloud storage.

14. I made no alterations to the portion of the video recording discussing House Bill 1407.

15. At or around 1:39 of my recording, Representative David Hillman is depicted on that

video and states, among other things, “The USDA currently isn’t [sic], does not have
enough protection, that’s one purpose of this bill, is to get USDA and FDA to have

regulations that would be nationwide.”

16. Video recordings of the Arkansas Senate’s floor sessions can be accessed through its

website, http://www.arkansas.gov/senate/.

17. On July 16, 2019, I visited

http://sg001-harmony.slig.net/003 16/Harmony/en/PowerBrowser/PowerBrowserV2/2019
0313/-1/16993#info_, where I viewed a recording of the March 13, 2019 floor session of
the Senate, during which Arkansas state senators discussed and voted on House Bill

1407.

 
 

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18. On July 16, 2019, I recorded the portion of that video in which the senators discussed
House Bill 1407 and saved the recording to my laptop computer.

19. On August 12, 2019, I uploaded the recording to the Good Food Institute’s Google Drive
cloud storage.

20. I made no alterations to the portion of the video recording discussing House Bill 1407.

21. At or around 2:33 of my recording, Senator Bruce Maloch is depicted on that video and
states, among other things, “The USDA and FDA actually entered a memorandum of
understanding or issued a statement last week that they’re going to start working on this
issue. Now the USDA’s just going to be involved in the meat products but the FDA
would be involved with the rice products. But so it’s a developing area of the law. It is
something that we need at the federal level and I think some steps like this will encourage
that.”

22. At or around 8:45 of my recording, Senator Bruce Maloch is depicted on that video and
states, among other things, “But I’m sure our senator colleagues from the delta are going
to want to protect their rice farmers as do I.”

23. At or around 11:49 of my recording, Senator Blake Johnson is depicted on that video and
states, among other things, “Full disclosure, I grow rice and there’s been a lot of talk
about rice ... I feel like it needs to be handled on the federal level because they the [sic]
commerce clause and sometimes we have to act on a state level to push them to do that.”

24. To my knowledge, the contents of all of the videos as uploaded to the Good Food
Institute’s Google Drive storage are exactly the same as the relevant portions of the

recordings which were accessed through the legislature’s website.

 

 
 

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25. On August 12, 2019, I informed Jeffrey Priebe and Candice Misenheimer at James,
Carter & Priebe, LLP of my video recordings and gave both of them access to my
recordings.

26. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing ts true

. Me (FE
Marcus Onley

Policy Coordinator

The Good Food Institute
1380 Monroe St. NW, #229
Washington, DC 20010
757.576.3339

and correct.

Executed this 12th day of August 2019.

 

 
